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             UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT

PJM Transmission Owners, et al.,           )
       Petitioners,                        )
                                           )
          v.                               )         No. 25-1064
                                           )
Federal Energy Regulatory                  )
 Commission,                               )
        Respondent.                        )

               UNOPPOSED MOTION OF RESPONDENT
                 TO HOLD APPEAL IN ABEYANCE

     Pursuant to Rule 27 of the Federal Rules of Appellate Procedure

and Circuit Rule 27, Respondent Federal Energy Regulatory

Commission (“Commission”) respectfully moves the Court to hold this

appeal in abeyance, including filing of the agency record, until the

earlier of either: (i) 90 days from the date of this motion (i.e., June 18,

2025), or (ii) the Commission’s issuance of an rehearing order in the

agency proceeding below. The parties will file motions to govern further

proceedings when the abeyance period ends. However, if a rehearing

order issues before June 18, 2025, then the parties will have an

additional 14 days to file such motions. Petitioners do not oppose this

motion.

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     Abeyance is requested because the Commission has given notice

that it intends to issue a rehearing order in the underlying agency

proceeding. This appeal arises from a Commission order rejecting

certain amendments that concern PJM’s regional transmission

expansion planning protocols. Duquesne Light Co., 189 FERC ¶ 61,181

(2024). Petitioners and PJM sought rehearing of that initial order, and,

on February 6, 2025, the Commission issued a “Notice of Denial of

Rehearing by Operation of Law and Providing for Further

Consideration.” Duquesne Light Co., 190 FERC ¶ 62,075 (2025). In the

notice, the Commission stated it would address Petitioners’ and PJM’s

respective rehearing requests “in a future order,” where it “may modify

or set aside [the initial order], in whole or in part, in such manner as it

shall deem proper.” Id. Until then, the rehearing request remains

pending, and the administrative record is incomplete.

     Holding this case in abeyance will permit the Commission more

time to issue that future order and serve the interests of judicial

economy by avoiding piecemeal appeals. Abeyance will also allow the

Commission to retain the power to “affirm, modify, or set aside [its]

order[s] in whole or in part,” before the Court assumes exclusive
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jurisdiction and this appeal proceeds to briefing. See 16 U.S.C.

§ 825l(b).

      When a party seeks rehearing, “there is always a possibility that

the order complained of will be modified in a way which renders judicial

review unnecessary. Practical considerations, therefore, dictate that

when a petition for rehearing is filed, review may properly be deferred

until this has been acted upon.” Outland v. Civil Aeronautics Bd., 284

F.2d 224, 227-28 (D.C. Cir. 1960). The “proper course” in these

circumstances is to “hold the appeal in abeyance pending the

Commission’s further proceedings, keeping the record open for

supplementation to reflect those proceedings.” Wrather-Alvarez Broad.,

Inc. v. FCC, 248 F.2d 646, 649 (D.C. Cir. 1957); see also Alaska v.

FERC, 980 F.2d 761, 764 (D.C. Cir. 1992) (Court’s preference is to

require parties to wait for appellate review until the lawsuit is

ultimately resolved, “to insist on the standard of one case, one appeal”).

      Accordingly, the Commission requests that the Court hold the

petition for review in abeyance until the earlier of either (i) 90 days or

(ii) until the Commission issues its rehearing order, with the parties to

file motions to govern further proceedings thereafter.
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                                Respectfully submitted,

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March 20, 2025




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                  CERTIFICATE OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I certify that this motion

complies with the type-volume limitation of Fed. R. App. P. 27(d)(2)(A)

because this motion contains 514 words, excluding the parts exempted

by Fed. R. App. P. 32(f).

     I further certify, pursuant to Fed. R. App. P. 27(d)(1)(E), that this

motion complies with the type-face requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this motion has been prepared in Century Schoolbook 14-point

font using Microsoft Word.


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                     CERTIFICATE OF SERVICE

      I hereby certify that, on March 20, 2025, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



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